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                    EXHIBIT A
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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF GEORGIA
                           ATLANTA DIVISION

   KEENAN’S KIDS FOUNDATION,                  :
   INC.,                                      :
                                              :
          Plaintiff,                          :
                                              :   CIVIL ACTION FILE NO.
   v.                                         :   1:20-cv-01702-WMR
                                              :
   SEAN CLAGGETT,                             :   JURY TRIAL DEMANDED
                                              :
          Defendants.                         :

 PLAINTIFF’S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS
                      TO DEFENDANTS

        Pursuant to Federal Rule of Civil Procedure 34, Defendant SEAN

CLAGGETT (“Defendant” or “Claggett”) hereby serves the following requests for

production upon Plaintiff (“Plaintiff”).    Plaintiff is to produce copies of the

documents at the offices of Polsinelli, 1201 West Peachtree St., NW, Suite 1100,

Atlanta, GA 30309, within the time provided by law.

        When answering these requests for production, please furnish all information

and documents available to you, including information and documents in your

possession, custody or control or in the possession, custody or control of any person

acting on your behalf, and not merely such information as is known of your own

personal knowledge. DO NOT DESTROY OR DISCARD ANY DOCUMENT,

DRAFTS OF DOCUMENTS, OR INFORMATION CALLED FOR IN
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DISCOVERY OR RELATING TO THE ALLEGATIONS THAT YOU MAKE. If

you cannot produce any of the documents requested, so state and produce the

documents as fully as possible, stating whatever information or knowledge you have

concerning the documents not produced.

                     DEFINITIONS AND INSTRUCTIONS

      The following definitions and instructions apply to these document requests:

      A.     “Relate”, “refer”, reflect”, “reflecting”, referring to” and “relating to”

shall be construed to include “refer,” “summarize,” “reflect,” “contain,” “mention,”

“show,” “discuss,” “describe,” “undermine,” “contradict,” or “comment upon.”

      B.     “Document” means any writing or other correspondence or tangible

thing, whether signed or unsigned, in draft or final form, an original or a copy, in the

custody or control of or known to Plaintiff or Plaintiff’s counsel. This definition

includes the full scope of documents and things discoverable under Fed. R. Civ. P.

26 and is used in its broadest sense to include items, whether printed, recorded, or

microfilmed, or electronically, optically or magnetically stored, or reproduced by

any process, or written or produced by hand. This definition includes, but is not

limited to, photographs, tapes, and electronically-stored data from which

information can be obtained either directly or by translation through detection

devices or readers, and any such document is to be produced in a reasonably legible

and usable form. This definition includes the original item (or copy thereof if the
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original is not available) and all copies which differ in any respect from the original,

including copies containing any notation, underlining, marking or information not

on the original.

      C.     “Amended Complaint” means Plaintiff’s Amended Complaint, filed

June 10, 2020, in the above-styled case.

      D.     The term “identify” used in reference to an individual means to state

his or her: (a) full name; (b) present or last known business and/or residence

address(es) and telephone number(s); (c) present or last known job title, and the

name and address of present employers; (d) relationship to you; (e) occupation, job

title, and job duties at the time in question, if known, (f) race, and (g) age.

      E.     “Identify,” when used in reference to a corporation, partnership, or any

legal entity other than a natural person, means to state its full name, address, or

principal place of business at present.

      F.     “Identify,” when used in reference to a document, means to state: (a)

the type of document (e.g., letter, memorandum, contract, insurance policy, etc.) or

some other means of identifying it; (b) its date, author or authors, and addressee or

addressees, if any; (c) its present location and custodian; and (d) the relationship of

the custodian to you. If any such document is no longer in Defendants’ possession

or subject to their control, “identify” also means to state: (e) what happened to it; (f)

the circumstances surrounding the authorization of the document's disposition; and
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(g) the date of disposition.

      G.     “Identify,” when used in reference to any act, occurrence, transaction,

decision, statement, communication, or contracts (hereinafter collectively referred

to as “act”), means to describe in substance the event or events constituting such

act(s), or what transpired, the place and date thereof, and to identify the persons

present, the persons involved, and any documents referring or relating thereto.

      H.     “Or” shall mean “and/or”; “and” shall mean “and/or.”

      I.     “Plaintiff”, “Keenan’s Kids Foundation”, “KKF”, you, and your mean

Plaintiff Keenan’s Kids Foundation, Inc., and its board members, employees,

representatives, agents, assigns or any individual or entity acting on their behalf.

      J.     “Defendant” and “Claggett” mean Defendant Sean Claggett.

      K.     The term “Reptile” means the plaintiffs’ attorney jury trial strategy and

theory which is discussed in the book “Reptile: The 2009 Manual of the Plaintiff’s

Revolution by David Ball and Don Keenan”.

      L.     The term “Reptile seminars” means any seminar discussing the Reptile

theory, related strategy and/or promoted or presented under the “Reptile” name, such

as the “Welcome to the Revolution Seminar” and the “Advanced Reptile Costa Rica

Seminar.”

      M.     The term “Keenan Ball Trial College” means the courses hosted under

the Keenan Ball Trial College name.
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      N.     “Communication” means any writing or any oral conversation

including, but not limited to, telephone conversations, voicemails, meetings, letters,

facsimiles, text pages, online chats, internet blogs, electronic mail, and instant

messages, and all documents concerning such writing or such oral conversation.

      O.     “Person” means any natural person, any business entity (whether

partnership, association, cooperative, or corporation), and any governmental entity

or department, agency, bureau, or political subdivision thereof.

      P.     “Persons with knowledge of the facts” means any person including, but

not limited to, persons who, at any point in time relevant to these proceedings, had

direct involvement with the subject matter of the Request for Production.

      Q.     “Date” shall mean the exact day, month and year, if ascertainable, or,

if not, the best approximation (including relationship to other events).

      R.     All references to the singular include the plural, and all references to

the plural include the singular.

      S.     All references to the masculine gender include the feminine and neutral

genders and all references to the feminine gender include the masculine and neutral

genders.

      T.     Except when express reference is made to another paragraph, each

paragraph herein shall be construed independently and not by reference to any other

paragraph herein for purposes of limitation.
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      U.     If you object to any request for production or any part thereof on the

basis of any privilege, identify the privilege claimed, each statement or

communication for which such privilege is claimed, and the basis on which the

privilege is claimed, together with the following information with respect to each

such statement or communication: (a) the date; (b) the names of persons present; (c)

subject matter; (d) location and/or custodian; (e) the circumstances of its origin; (f)

the circumstances of the document’s disposition, including the identity of all persons

whom you believe have or may have seen it or become acquainted with its contents;

and (g) the basis on which the privilege is claimed.

      V.     If a document previously existed but has been misplaced, lost,

destroyed, discarded, or is otherwise unavailable, identify the document and any

persons with knowledge of its current unavailability and state the date and

circumstances leading to its unavailability.

      W.     If you object to part of a document request and refuse to answer or

respond to that part, state your objection and answer or respond to the remaining

portion of that document request. If you object to the scope or time period of a

document request and refuse to answer or respond for that scope or time period, state

your objection and answer or respond to the document request for the scope or time

period you contend is not objectionable.

      X.     These requests for production are to be regarded as continuing in
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nature, and Plaintiff is requested to provide, by way of supplementing responses, any

additional information and/or documents later obtained by Plaintiff or any person or

entity for or on their behalf, which information and/or documents will augment or

otherwise modify any response given to these requests for production.

             REQUESTS FOR PRODUCTION OF DOCUMENTS

                                      1.

       Please produce any and all documents which reflect, identify or describe the
trade secrets you allege in your complaint.

                                      2.

      Please produce any and all documents describing with reasonable particularity
the “Trade Secret Voir Dire Techniques” alleged in your complaint.

                                      3.

      Please produce any and all documents demonstrating when Don Keenan
and/or Keenan’s Kids Foundation first developed the “Trade Secret Voir Dire
Techniques” that you allege Mr. Claggett misappropriated.

                                      4.

       Please produce any and all documents supporting or relating to your
contention that Keenan’s Kids Foundation owns or has the right to use the trade
secrets alleged in your complaint, including any agreements whereby Keenan’s Kids
Foundation obtained ownership of the alleged trade secrets or licensed the alleged
trade secrets.

                                      5.

       Please produce all documents which reflect, refer or relate to the development
of the trade secrets alleged in your Complaint.
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                                      6.

       Please produce all documents supporting, referring to or relating to your
allegations that Mr. Claggett misappropriated trade secrets.

                                      7.

      Please produce any and all documents referring to, reflecting or relating to the
“unique title phrases” referenced in paragraph 34 of your complaint.

                                      8.

       Please produce any and all documents describing referring to, reflecting or
relating to the “unique system of tried and tested techniques and strategies”
referenced in paragraph 34 of your complaint.

                                      9.

       Please produce any and all documents describing, referring to, reflecting or
relating to the strategies, systems, or methods referenced in paragraph 34 of your
complaint when you allege that Mr. Claggett misappropriated strategies to: “elicit
information about what motivates a prospective juror.”

                                      10.

       Please produce any and all documents describing, referring to, reflecting or
relating to the strategies, systems, or methods referenced in paragraph 34 of your
complaint which you allege that Mr. Claggett misappropriated strategies to:
“identify unfavorable jurors on matters related to compensation.”

                                      11.

       Please produce any and all documents describing, referring to, reflecting or
relating to the strategies, systems, or methods referenced in paragraph 34 of your
complaint when you allege that Mr. Claggett misappropriated strategies to: “assess
juror empathy.”

                                      12.

      Please produce any and all documents describing, referring to, reflecting or
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relating to the strategies, systems, or methods referenced in paragraph 34 of your
complaint when you allege that Mr. Claggett misappropriated strategies to: “select
jurors through use of ‘spotters.”’


                                      13.

       Please produce any and all documents, writings, and/or other instructional
material provided to attendees of the September 23-24, 2014 Keenan Ball Trial
College voir dire course when teaching them the strategies referenced in paragraph
34 of your complaint, specifically how to: “(1) elicit information about what
motivates a prospective juror, (2) identify unfavorable jurors on matters related to
compensation, (3) assess juror empathy, and (4) select jurors through use of
‘spotters.”

                                      14.

       Please produce any and all documents, writings, and/or other instructional
material given to instructors of the September 23-24, 2014 Keenan Ball Trial
College voir dire course when training them on how to teach the strategies referenced
in paragraph 34 of your complaint, specifically how to: “(1) elicit information about
what motivates a prospective juror, (2) identify unfavorable jurors on matters related
to compensation, (3) assess juror empathy, and (4) select jurors through use of
‘spotters.”

                                      15.

       Please produce any and all documents, writings, and/or other instructional
material shown and/or given to attendees of the September 23-24, 2014 Keenan Ball
Trial College voir dire course when teaching them about the “questioning strategies,
strategies for analyzing responses, and strategies for implementing what is learned
from questioning in order to select a favorable jury,” as referenced in paragraph 36
of your complaint.

                                      16.

      Please produce any and all video or audio recordings shown and/or given to
attendees of the September 23-24, 2014 Keenan Ball Trial College voir dire course
when teaching them about the “questioning strategies, strategies for analyzing
responses, and strategies for implementing what is learned from questioning in order
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to select a favorable jury,” as referenced in paragraph 36 of your complaint.

                                      17.

      Please produce a list or document identifying any and all students who
attended the September 23-24, 2014 Keenan Ball Trial College voir dire course.

                                      18.

     Please produce a list or document identifying any and all instructors of the
September 23-24, 2014 Keenan Ball Trial College voir dire course.

                                      19.

       Please produce any and all documents, writings, and/or other instructional
material provided to attendees of seminars hosted under the Reptile name and/or
seminars hosted under the Keenan/Ball name between 2013 and the present, when
teaching about the strategies referenced in paragraph 34 of your complaint,
specifically how to: “(1) elicit information about what motivates a prospective juror,
(2) identify unfavorable jurors on matters related to compensation, (3) assess juror
empathy, and (4) select jurors through use of ‘spotters.”

                                      20.

       Please produce any and all documents, writings, and/or other instructional
material provided to attendees of Keenan Ball Trial College and/or Keenan Trial
Institute between 2013 and the present, when teaching them the strategies referenced
in paragraph 34 of your complaint, specifically how to: “(1) elicit information about
what motivates a prospective juror, (2) identify unfavorable jurors on matters related
to compensation, (3) assess juror empathy, and (4) select jurors through use of
‘spotters.”

                                      21.

      Please produce any and all documents, writings, and/or other instructional
material given to Keenan Ball Trial College and/or Keenan Trial Institute instructors
between 2013 and the present, when training them on how to teach the strategies
referenced in paragraph 34 of your complaint, specifically how to: “(1) elicit
information about what motivates a prospective juror, (2) identify unfavorable jurors
on matters related to compensation, (3) assess juror empathy, and (4) select jurors
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through use of ‘spotters.”

                                      22.

       Please produce any and all documents, writings, and/or other instructional
material shown and/or given to Keenan Ball Trial College and/or Keenan Trial
Institute attendees between 2013 and the present, when teaching them about the
“questioning strategies, strategies for analyzing responses, and strategies for
implementing what is learned from questioning in order to select a favorable jury,”
as referenced in paragraph 36 of your complaint.

                                      23.

      Please produce any and all video or audio recordings shown and/or given to
Keenan Ball Trial College and/or Keenan Trial Institute attendees between 2013 and
the present, when teaching them about the “questioning strategies, strategies for
analyzing responses, and strategies for implementing what is learned from
questioning in order to select a favorable jury,” as referenced in paragraph 36 of your
complaint.

                                      24.

       Please produce any and all documents, writings, and/or other instructional
material shown and/or given to Keenan Ball Trial College and/or Keenan Trial
Institute instructors between 2013 and the present, when training them on how to
teach about the “questioning strategies, strategies for analyzing responses, and
strategies for implementing what is learned from questioning in order to select a
favorable jury,” as referenced in paragraph 36 of your complaint.

                                      25.

       Please produce any and all video or audio recordings shown and/or given to
Keenan Ball Trial College and/or Keenan Trial Institute instructors between 2013
and the present, when training them on how to teach about the “questioning
strategies, strategies for analyzing responses, and strategies for implementing what
is learned from questioning in order to select a favorable jury,” as referenced in
paragraph 36 of your complaint.

                                      26.
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       Please produce a list or document identifying any and all students who have
attended any voir dire course at the Keenan Ball Trial College and/or the Keenan
Trial Institute between 2013 and the present.

                                     27.

      Please produce a list or document identifying any and all students who have
attended any advanced voir dire course at the Keenan Ball Trial College and/or the
Keenan Trial Institute between 2013 and the present.

                                     28.

       Please produce a list or document identifying any and all instructors of any
voir dire course at the Keenan Ball Trial College and/or the Keenan Trial Institute
between 2013 and the present.

                                     29.

       Please produce a list or document identifying any and all instructors of any
advanced voir dire course at the Keenan Ball Trial College and/or the Keenan Trial
Institute between 2013 and the present.

                                     30.

      Please produce copies of any and all articles or blogs Don Keenan has written
or been quoted in regarding, discussing, referring to, relating to, and/or describing
any aspect of voir dire, including those disseminated to the Keenan Trial Blog.

                                     31.

       Any and all documents, including articles, blogs, transcripts, CLE materials
and course materials, discussing voir dire that were prepared by, disseminated by
and/or reflecting quotes from anyone who has been or is an employee, officer,
director or instructor for Keenan’s Kids Foundation.

                                     32.

       Please produce any and all documents in which you communicated the trade
secrets you allege in your complaint to persons outside of Keenan’s Kids
Foundation.
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                                      33.

       Please produce any and all documents that show, reflect, refer or relate to the
steps you have taken to protect your alleged trade secrets, as alleged in paragraph 42
of your complaint.

                                      34.

       Please produce any and all documents showing, reflecting, referring to, or
relating to the steps you took to vet Mr. Claggett before allowing him to attend any
Keenan Ball Trial College course.

                                      35.

       Please produce any and all documents showing, reflecting, referring to, or
relating to the steps you took to vet Mr. Claggett before allowing him to become an
instructor at the Keenan Ball Trial College.

                                      36.

       Please produce any and all documents showing, reflecting, referring to, or
relating to the steps you took to vet Mr. Claggett before allowing him to become a
dean of the Keenan Ball Trial College.

                                      37.

       Please produce any and all documents showing, reflecting, referring to, or
relating to the steps you took to vet Mr. Claggett before allowing him to become a
moderator of the Nevada Reptile Listserv.

                                      38.

       Please produce a copy of any agreement, including any “confidentiality
agreement”, you allege Mr. Claggett signed when attending the September 2014 voir
dire course stating he would not disclose confidential and proprietary information.
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                                     39.

       Please produce any and all agreements, including confidentiality agreements,
that attorneys attending workshops or workdays at Don Keenan’s beach house
entered into and/or are required to sign.

                                     40.

      Please produce any and all agreements, including confidentiality agreements,
you required Mr. Claggett to sign and/or that he entered into when he attended
workshops or workdays at Don Keenan’s beach house, as alleged in paragraph 61 of
your complaint.

                                     41.

       Please produce any and all documents reflecting, referring to, or relating to
the steps you took to protect any trade secrets you allege were shared and entrusted
to Mr. Claggett at Don Keenan’s beach house, as alleged in paragraph 61 of your
complaint.

                                     42.

      Please produce any and all documents supporting and/or relating to paragraph
63 of your complaint.

                                     43.

       Please produce any and all documents supporting or relating to your
contention in paragraph 64 of your complaint that “the Nevada LISTSERV” was
“limited only to individuals who first took the Keenan’s Kids Voir Dire Course.”

                                     44.

      Please produce any and all agreements, including confidentiality agreements
you required Mr. Claggett to sign when Mr. Claggett’s law firm brought Don Keenan
and/or Don Keenan’s law firm in as a consultant and later as co-counsel on the
Natasha Smith v. Flamingo case in the Eighth Judicial District Court, State of
Nevada.

                                     45.
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      Please produce any and all agreements, including confidentiality agreements,
you required Mr. Claggett to sign as a member of the Nevada Reptile Listserv.



                                     46.

Please produce any and all agreements, including confidentiality agreements, you
required Mr. Claggett to sign as moderator of the Nevada Reptile Listserv.

                                     47.

Please produce any and all agreements, including confidentiality agreements you
required Mr. Claggett to sign as a student of the Keenan Ball Trial College and/or
Keenan Trial Institute.

                                     48.

      Please produce any and all agreements, including confidentiality agreements,
you required Mr. Claggett to sign as an instructor of the Keenan Ball Trial College
and/or Keenan Trial Institute.

                                     49.

      Please produce any and all agreements, including confidentiality agreements
you required Mr. Claggett to sign as a dean of the Keenan Ball Trial College and/or
Keenan Trial Institute.

                                     50.

      Please produce any and all agreements, including confidentiality agreements
you required Mr. Claggett to sign when you invited him on a European cruise in
2016 with Mindy Bish, Benjamin Boscolo, and Ryan Skiver, during which you
claimed to have discussed voir dire, and codes.

                                     51.

      Please produce any and all communications from Keenan’s Kids Foundation
to Mr. Claggett regarding trade secrets being taught at the Keenan Ball Trial College
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and/or Keenan Trial Institute.



                                     52.

       Please produce any and all communications from Don Keenan to Mr. Claggett
regarding trade secrets being taught at the Keenan Ball Trial College and/or Keenan
Trial Institute.
                                      53.

       Please produce any and all communications from anyone employed by or
associated with the Keenan’s Kids Foundation to Mr. Claggett regarding trade
secrets being taught at the Keenan Ball Trial College and/or Keenan Trial Institute.

                                     54.

      Please produce any and all communications from anyone employed by or
associated with the Keenan Ball Trial College and/or Keenan Trial Institute to Mr.
Claggett regarding trade secrets being taught at the Keenan Ball Trial College and/or
Keenan Trial Institute.

                                     55.

      Please produce any and all communications from anyone employed by or
associated with the Keenan Law Firm to Mr. Claggett regarding trade secrets being
taught at the Keenan Ball Trial College and/or Keenan Trial Institute.

                                     56.

     Please produce any and all documents showing that Mr. Claggett was an
employee of Keenan’s Kids Foundation, as alleged in paragraph 66 of your
complaint.

                                     57.

       Please produce any and all documents that support or related to the factual
allegations in paragraph 66 of your complaint.
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                                   58.

       Please produce any and all communications between Don Keenan and David
Hoey in 2018 regarding or discussing in any way, Mr. Claggett’s resignation as an
instructor of the Keenan Ball College and/or Keenan Trial Institute.

                                   59.

       Please produce any and all communications between Don Keenan and Mindy
Bish in 2018 regarding or discussing in any way, Mr. Claggett’s resignation as an
instructor of the Keenan Ball College and/or Keenan Trial Institute.

                                   60.

     Please produce any and all communications between Don Keenan and David
Hoey regarding or discussing in any way, Mr. Claggett’s removal as dean of the
Keenan Ball College Damages course.

                                   61.

      Please produce any and all communications between Don Keenan and Mindy
Bish regarding or discussing in any way, Mr. Claggett’s removal as dean of the
Keenan Ball College Damages course.

                                   62.

     Please produce any and all communications between Don Keenan and any
employee of Keenan’s Kids Foundation regarding or discussing in any way, Mr.
Claggett’s removal as dean of the Keenan Ball College Damages course.

                                   63.

      Please produce any and all communications between Don Keenan and any
person other than David Hoey or Mindy Bish regarding or discussing in any way,
Mr. Claggett’s removal as dean of the Keenan Ball College Damages course.

                                   64.
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       Please produce any and all communications between any employees of
Keenan’s Kids Foundation in 2018 regarding or discussing in any way, Mr.
Claggett’s resignation as an instructor of the Keenan Ball College and/or Keenan
Trial Institute.



                                     65.

       Please produce any and all communications between any board members of
Keenan’s Kids Foundation in 2018 regarding or discussing in any way, Mr.
Claggett’s resignation as an instructor of the Keenan Ball College and/or Keenan
Trial Institute.

                                     66.

      Please produce a sample copy of any and all versions of the confidentiality
agreements alleged in paragraph 70 of your complaint.

                                     67.

       Please produce any and all documents supporting, reflecting, referring to or
relating to the factual allegations in paragraph 75 of your complaint.

                                     68.

       Please produce any and all documents showing, reflecting, referring to and/or
relating to the “proprietary and confidential Trade Secret Voir Dire Techniques” you
allege Mr. Claggett taught and offered through the Trojan Horse, as alleged in
paragraph 76 of your complaint.

                                     69.

       Please produce any and all documents supporting and/or relating to the
allegation in paragraph 84 of your complaint that Trojan Horse sold recordings of
“Claggett’s Voir Dire School” to residents of Georgia.

                                     70.

      Please produce any and all documents evidence supporting and/or relating to
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the allegation that Keenan’s Kids Foundation “has sustained and will continue to
sustain actual losses resulting from Defendant’s wrongful misappropriation” as
alleged in paragraph 106 of your complaint.

                                     71.

       Please produce any and all documents reflecting, referring to and/or relating
to the amount of “actual losses” as alleged in paragraph 106 of your complaint.

                                     72.

       Please produce all documents supporting, reflecting, referring to and/or
relating any damages you are claiming.

                                     73.

       Please produce any and all agreements you have with David Ball and/or any
entities owned by Mr. Ball regarding ownership of material printed in Reptile: The
2009 Manual of the Plaintiff’s Revolution.

                                     74.

       Please produce any and all agreements you have with David Ball and/or any
entities owned by Mr. Ball regarding ownership of material presented by you and/or
Mr. Ball at any seminar hosted under the Reptile name from 2015 through the
present.

                                     75.

       Please produce any and all agreements you have with David Ball and/or any
entities owned by Mr. Ball regarding how any monies earned under the Reptile name
are split between you and Mr. Ball.

                                     76.

      Please produce any and all agreements between you and David Ball and/or
any entities owned by Mr. Ball with respect to ownership of the Keenan Ball Trial
College.
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                                     77.

       Please produce any and all agreements between you and David Ball and/or
any entities owned by Mr. Ball in which Mr. Ball allowed you to teach the trial
techniques, opening statement techniques or methods, and/or voir dire techniques or
methods set forth in any of his publications, including but not limited to Damages 3,
at the Keenan Ball Trial College.

                                     78.

       Please produce any and all documents describing, referring to, reflecting, or
relating to ownership of the material presented in The Reptile Voir Dire:
Keenan/Ball Method of General and Case Specific Voir Dire DVD.

                                     79.

       Please produce any and all documents describing, referring to, reflecting, or
relating to how the voir dire material, methods, and/or strategies presented in The
Reptile Voir Dire: Keenan/Ball Method of General and Case Specific Voir Dire
DVD differ from the material you now claim to be trade secrets.

                                     80.

      Please produce any and all agreements between you and David Ball in which
Mr. Ball allowed you to teach the trial techniques, opening statement techniques or
methods, and/or voir dire techniques or methods set forth in any of his publications,
including but not limited to Damages 3,at the Keenan Trial Institute.

                                     81.

      Please produce any and all Keenan Kids Foundation board of director meeting
minutes in which the board of directors authorized the instant lawsuit.

                                     82.

      Please produce any and all Keenan Kids Foundation board of director meeting
minutes in which the board of directors have discussed trade secrets allegedly owned
by Keenan Kids Foundation.
                                     83.
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      Please produce any and all Keenan Kids Foundation board of director meeting
minutes in which the board of directors have discussed protection of trade secrets
allegedly owned by Keenan Kids Foundation.

                                     84.

     Please produce a list identifying any and all persons you asked to watch and/or
monitor any presentations conducted by Mr. Claggett from 2017 through the present.

                                     85.

      Please produce a list identifying any and all persons you asked to audio or
video record any presentations conducted by Mr. Claggett from 2017 through the
present.

                                     86.

       Please produce any and all audio and/or video recordings in your possession
of any and all presentations conducted by Mr. Claggett in which you allege he
disclosed your alleged trade secrets. This includes any Trojan Horse Method and/or
Case Analysis presentations at which you allege Mr. Claggett disclosed your alleged
trade secrets.

                                     87.

      Please produce any and all audio and/or video recordings in your possession
of any and all presentations conducted by Mr. Claggett between 2013 and the
present. This includes any Trojan Horse Method and/or Case Analysis presentations
at which you allege Mr. Claggett disclosed your alleged trade secrets.

                                     88.

     Please produce all monthly, quarterly, and annual financial statements for
Keenan’s Kids Foundation for 2017 to the present, including balance sheets and
income or profit and loss statements.

                                     89.

     Please produce documents showing any salary, compensation, and/or other
monies paid to any Keenan’s Kids Foundation board member in 2017.
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                                  90.

     Please produce documents showing any salary, compensation, and/or other
monies paid to any Keenan’s Kids Foundation board member in 2018.



                                  91.

     Please produce documents showing any salary, compensation, and/or other
monies paid to any Keenan’s Kids Foundation board member in 2019.

                                  92.

     Please produce documents showing any salary, compensation, and/or other
monies paid to any Keenan’s Kids Foundation board member in 2020.

                                  93.

      Please produce documents showing salaries and any other compensation paid
to any person by Keenan’s Kids Foundation in 2017.

                                  94.

       Please produce documents showing salaries and/or any other compensation
paid to any person by Keenan’s Kids Foundation in 2018.

                                  95.

       Please produce documents showing salaries and/or any other compensation
paid to any person by Keenan’s Kids Foundation in 2019.

                                  96.

      Please produce documents showing salaries and other compensation paid to
any person by Keenan’s Kids Foundation in 2020.
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                                    97.

      Please produce documents showing how much money Keenan’s Kids
Foundation expended in 2017 on Reptile, Keenan Ball Trial College, Keenan Edge,
and/or Keenan Trial Institute functions, such as seminars, books, marketing, trial
college courses, and travel.

                                    98.

      Please produce documents showing how much money Keenan’s Kids
Foundation expended in 2018 on Reptile, Keenan Ball Trial College, Keenan Edge,
and/or Keenan Trial Institute functions, such as seminars, books, marketing, trial
college courses, and travel.

                                    99.

      Please produce documents showing how much money Keenan’s Kids
Foundation expended in 2019 on Reptile, Keenan Ball Trial College, Keenan Edge,
and/or Keenan Trial Institute functions, such as seminars, books, marketing, trial
college courses, and travel.

                                   100.

      Please produce documents showing how much money Keenan’s Kids
Foundation expended in 2020 on Reptile, Keenan Ball Trial College, Keenan Edge,
and/or Keenan Trial Institute functions, such as seminars, books, marketing, trial
college courses, and travel.

                                   101.

       Documents sufficient to identify any and all accountants, accounting firms
and or auditors who provided services to Keenan’s Kids Foundation in the last 5
years.

                                   102.

      Documents which reflect, refer to or relate to marketing and promotional
materials, including advertisements and brochures, used by Keenan’s Kids
Foundation related to any course, seminar or presentation where voir dire, related
techniques and/or the alleged trade secrets were discussed.
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                                     103.

     All video and audio recordings of Don Keenan or any other individual who is
or has been an employee, instructor, officer or director for Keenan’s Kids
Foundation discussing voir dire, related techniques and/or the alleged trade secrets.

                                     104.

      All employee handbooks used by you in the last 10 years.

                                     105.

      All documents reflecting, referring to or relating to any written policies and
procedures used by you in the last 10 years.

                                     106.

      Any organizational charts you have had in the last 10 years.

                                     107.

      Any organizational charts Keenan Ball Trial College had in the last 10 years.

                                     108.

      Any organizational charts Keenan Trial Institute had in the last 10 years.

                                     109.

       Documents sufficient to identify the employees, officers, directors and
instructors you have had over the last 10 years.

                                     110.

      Any and all agreements entered into with anyone who is or has been an
employee, instructor, officer or director for Keenan’s Kids Foundation, including
but not limited to employment and confidentiality agreements.
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                                     111.

       Any and all documents showing reflecting, referring to, or relating to any and
all payments from Keenan’s Kids Foundation to New Frontier Air, LLC from 2015
through the present.

                                     112.

       Any and all documents showing reflecting, referring to, or relating to any and
all payments from Keenan’s Kids Foundation to Balloon Press from 2015 through
the present.

                                     113.

      Any and all documents showing reflecting, referring to, or relating to any and
all payments from Keenan’s Kids Foundation to Keenan Law Firm from 2015
through the present.

                                     114.

       Any and all documents showing reflecting, referring to, or relating to any and
all payments from Keenan’s Kids Foundation to David Ball and/or any entity owned
or controlled by David Ball from 2015 through the present.

                                     115.

     Any and all documents showing any and all payments from Keenan’s Kids
Foundation to the Murphy House Project from 2015 through the present.

      Respectfully submitted this 28th day of September, 2020.


  POLSINELLI PC                              s/ Joseph C. Sharp
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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF GEORGIA
                         ATLANTA DIVISION

 KEENAN’S KIDS FOUNDATION,                 :
 INC.,                                     :
                                           :
       Plaintiff,                          :
                                           : CIVIL ACTION FILE NO. 1:20-
 v.                                        : cv-01702-WMR
                                           :
 SEAN CLAGGETT,                            : JURY TRIAL DEMANDED
                                           :
        Defendants.                        :

                        CERTIFICATE OF SERVICE

      I hereby certify that I have this day served a copy of the foregoing

DEFENDANT’S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS

TO PLAINTIFF upon all counsel of record by email and by depositing same in the

United States Mail with adequate postage affixed thereon to:

                            John M. Bowler
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                                      s/ Joseph C. Sharp
                                      Joseph C. Sharp
